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     Laura D. Berger (FL Bar No. 11762)                Cause Of Action Institute
 1
     Federal Trade Commission                          Patrick J. Massari [admitted pro hac vice]
 2   901 Market Street, Suite 570                      [Lead Counsel]
     San Francisco, CA 94103                           patrick.massari@causeofaction.org
 3   P: (202) 326-2471/F: (415) 848-5184               Michael Pepson [admitted pro hac vice]
     lberger@ftc.gov                                   michael.pepson@causeofaction.org
 4                                                     Kara E. Mckenna [admitted pro hac vice]
 5   Kevin H. Moriarty (DC Bar No. 975904)             kara.mckenna@causeofaction.org
     Federal Trade Commission                          1875 Eye Street N.W., Suite 800
 6   600 Penn. Ave. NW, Mail Drop CC-8232              Washington, D.C. 20006
     Washington, DC 20580                              Telephone: (202) 422-4332
 7   P: (202) 326-2949/F: (202) 326-3062               Facsimile: (202) 330-5842
     kmoriarty@ftc.gov
 8                                                     Pillsbury Winthrop Shaw Pittman LLP
 9   Attorneys for Plaintiff Federal Trade             Laura C. Hurtado (CSB #267044)
     Commission                                        laura.hurtado@pillsburylaw.com
10                                                     Four Embarcadero Center, 22nd Floor
                                                       San Francisco, California 94111
11                                                     Telephone: (415) 983-1000
                                                       Facsimile: (415) 983-1200
12

13                                                     Attorneys for Defendants D-Link Systems, Inc.,
                                                       and D-Link Corporation
14
                               UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
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     FEDERAL TRADE COMMISSION,                                        Civil Action No.
18                                                                   3:17-cv-00039-JD
                           Plaintiff,
19                                                           JOINT STIPULATION AND
                    v.                                    [PROPOSED] ORDER DISMISSING
20                                                            D-LINK CORPORATION
21   D-LINK CORPORATION, et al.,                              WITHOUT PREJUDICE

22                         Defendants.

23
            Pursuant to the agreement of the parties at the May 4, 2017, Case Management
24
     Conference, plaintiff Federal Trade Commission (“FTC”) and defendants D-Link Systems, Inc.,
25
     and D-Link Corporation, through their attorneys of record, hereby stipulate as follows:
26

27
     JOINT STIPULATION AND                                                      No. 3:17-cv-00039-JD
28   [PROPOSED] ORDER                                                                          Page 1
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 1            The FTC hereby dismisses without prejudice D-Link Corporation. Counsel for D-Link
 2   Systems, Inc. will accept service of discovery requests on behalf of D-Link Corporation, who
 3   will respond as if it were a party.
 4
     Dated:    May 10, 2017
 5

 6   Submitted with attestation that concurrence
     in the filing of this document has been obtained
 7   from the signatories.
 8

 9
     /s/ Laura D. Berger__________________            /s/ Patrick J. Massari_________________
10   Laura D. Berger                                  Patrick J. Massari
     Federal Trade Commission                         [Lead Counsel]
11   901 Market Street, Suite 570                     Michael Pepson
     San Francisco, CA 94103                          Kara E. Mckenna
12                                                    Cause of Action Institute
13   Kevin H. Moriarty                                1875 Eye Street N.W., Suite 800
     Federal Trade Commission                         Washington, D.C. 20006
14   600 Penn. Ave. NW, Mail Drop CC-8232
     Washington, DC 20580                             Pillsbury Winthrop Shaw Pittman LLP
15                                                    Laura C. Hurtado
     Attorneys for Plaintiff Federal Trade            Four Embarcadero Center, 22nd Floor
16   Commission                                       San Francisco, California 94111
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                                                      Attorneys for Defendants D-Link Systems, Inc.,
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                                                                 T ES D
                                                      and D-Link Corporation     T           C
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20   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated: May 15, 2017
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                                                 UNITED STATES
                                                            N DISTRICT JUDGE
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25                                                                 D IS T IC T O
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     JOINT STIPULATION AND                                                          No. 3:17-cv-00039-JD
28   [PROPOSED] ORDER                                                                              Page 2
